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               UNITED STATES DISTRICT COURT DISTRICT OF
                             NEW JERSEY
UNITED STATES OF AMERICA        :     MAGISTRATE NO.: 24-1036

                                            :
     V.                                     :       CRIMINAL ACTION
         Michelle Peterson                  :
                                            :       ORDER OF RELEASE
                                            :
        The Court orders the defendant is ordered released on a personal recognizance bond with
the following bail conditions:


       (✔) Reporting, as directed, to U.S. Pretrial Services;

       ( ) Substance Abuse testing/treatment, as directed by U.S. Pretrial Services;

       ( ) Mental Health testing/treatment as directed by U.S. Pretrial Services:

       (✔) The defendant shall appear at all future court proceedings;

       ( ) Other:


/s/ Michelle Peterson                         June 6, 2024
DEFENDANT                                                       DATE


        It is further ORDERED that the defendant be furnished with a copy of this order and a
notice of the penalties applicable to violation of conditions of release.



                                           Honorable Andrea Dechenne Bergman
                                              U.S. MAGISTRATE JUDGE



                                             DATE June 6, 2024
